12/3/2019                                         District of 9
                        Case 1:19-cr-10444-NMG Document       Maine Version
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                                                                                CLOSED,COURTEXHIBITS,VICTIM

                                          U.S. District Court
                                     District of Maine (Portland)
                          CRIMINAL DOCKET FOR CASE #: 2:19-mj-00335-JHR-1


 Case title: USA v. ANGELESCO                                                     Date Filed: 11/22/2019
                                                                                  Date Terminated: 11/27/2019


 Assigned to: MAGISTRATE JUDGE JOHN
 H. RICH III

 Defendant (1)
 WILLIAM ANGELESCO                                                   represented by DAVID R. BENEMAN
 TERMINATED: 11/27/2019                                                             FEDERAL DEFENDER'S OFFICE
 also known as                                                                      P.O. BOX 595
 BILLY                                                                              PORTLAND, ME 04112-0595
 TERMINATED: 11/27/2019                                                             207-553-7070 ext. 101
                                                                                    Fax: 207-553-7017
                                                                                    Email: David.Beneman@fd.org
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED
                                                                                    Designation: Public Defender or
                                                                                    Community Defender Appointment

 Pending Counts                                                                   Disposition
 None

 Highest Offense Level (Opening)
 None

 Terminated Counts                                                                Disposition
 None

 Highest Offense Level (Terminated)
 None

 Complaints                                                                       Disposition
 COUNT ONE - INTERFERING WITH
 COMMERCE BY THREATS OR
 VIOLENCE, 18:1951 AND 2.



 Interested Party
 DISTRICT OF MASSACHUSETTS

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12/3/2019                                         District of 9
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 Plaintiff
 USA                                                                 represented by DAVID B. JOYCE
                                                                                    U.S. ATTORNEY'S OFFICE
                                                                                    DISTRICT OF MAINE
                                                                                    100 MIDDLE STREET PLAZA
                                                                                    PORTLAND, ME 04101
                                                                                    (207) 771-3217
                                                                                    Email: david.joyce@usdoj.gov
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED
                                                                                    Designation: Assistant US Attorney


  Date Filed            #    Docket Text
  11/22/2019                 Arrest (Rule 5) per notification by USMS of WILLIAM ANGELESCO (nrg) (Entered:
                             11/22/2019)
  11/22/2019             1 Rule 5(c)(3) Documents Received as to WILLIAM ANGELESCO (Attachments: # 1
                           Indictment, # 2 Cover Sheet, # 3 Arrest Warrant)(nrg) (Entered: 11/22/2019)
  11/22/2019                 Case unsealed per AUSA Joyce and the District of Massachusetts as to WILLIAM
                             ANGELESCO (nrg) (Entered: 11/22/2019)
  11/22/2019             2 SYNOPSIS as to WILLIAM ANGELESCO (nrg) (Entered: 11/22/2019)
  11/22/2019             4 MOTION for Detention by USA as to WILLIAM ANGELESCO Responses due by
                           12/13/2019. (JOYCE, DAVID) (Entered: 11/22/2019)
  11/22/2019             5 NOTICE OF HEARING as to WILLIAM ANGELESCO: Rule 5 Hearing and Attorney
                           Appointment Hearing set for 11/22/2019 11:30 PM in Portland Hearing Room before
                           MAGISTRATE JUDGE JOHN H. RICH III. (nrg) (Entered: 11/22/2019)
  11/22/2019             6 Minute Entry for proceedings held before MAGISTRATE JUDGE JOHN H. RICH III:
                           Rule 5 Hearing held: Defendant advised of rights as to WILLIAM ANGELESCO held on
                           11/22/2019. The defendant is ordered temporarily detained and remanded to the custody of
                           the US Marshals Service. (Court Reporter: Dennis Ford) (nrg) (Entered: 11/22/2019)
  11/22/2019             7 WAIVER of Rule 5 Hearings by WILLIAM ANGELESCO (nrg) (Entered: 11/25/2019)
  11/25/2019             8 ORDER OF TEMPORARY DETENTION as to WILLIAM ANGELESCO Detention
                           Hearing set for 11/27/2019 10:00 AM in Portland Hearing Room before MAGISTRATE
                           JUDGE JOHN H. RICH III. By MAGISTRATE JUDGE JOHN H. RICH III. (nrg)
                           (Entered: 11/25/2019)
  11/26/2019             9 Pretrial Services Report as to WILLIAM ANGELESCO filed by U.S. Probation. (Access
                           to document is restricted to USA and applicable defendant only) (REINHEIMER,
                           SHARON) (Entered: 11/26/2019)
  11/27/2019           10 Minute Entry for proceedings held before MAGISTRATE JUDGE JOHN H. RICH III:
                          Conference of Counsel held (no court reporter present) as to WILLIAM ANGELESCO,
                          Detention Hearing held as to WILLIAM ANGELESCO. The defendant is ordered detained
                          and remanded to the custody of the US Marshals Service. (Court Reporter: Dennis Ford)
                          (nrg) (Entered: 11/27/2019)
  11/27/2019           11 COURT EXHIBIT LIST from Detention Hearing held on 11/27/2019 as to defendant(s)
                          WILLIAM ANGELESCO (Exhibits listed on the Court Exhibit List are not remotely
https://ecf.med.uscourts.gov/cgi-bin/DktRpt.pl?684062323811025-L_1_0-1                                                   2/3
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                                                                            Filed     6.2
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                           electronically available) (nrg) (Entered: 11/29/2019)
  11/27/2019           12 COURT WITNESS LIST from Detention Hearing held on 11/27/2019 as to defendant(s)
                          WILLIAM ANGELESCO (nrg) (Entered: 11/29/2019)
  11/27/2019           13 COMMITMENT TO ANOTHER DISTRICT as to WILLIAM ANGELESCO. Defendant
                          committed to the District of Massachusetts. By MAGISTRATE JUDGE JOHN H. RICH
                          III. (nrg) (Entered: 11/29/2019)
  11/27/2019                 Notice to the District of Massachusetts of a Rule 5 Initial Appearance hearing as to
                             WILLIAM ANGELESCO. Using your PACER account, please retrieve the docket sheet
                             and any other necessary documents. All restricted access documents will be sent via email.
                             If you require certified copies of any documents please send a request to
                             ecfhelp@med.uscourts.gov. (nrg) (Entered: 11/29/2019)



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                                   Description:     Docket Report
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                                      Indictment Synopsis

Name:                                     William Angelesco

Address:                                  Saco, ME
(City & State Only)
Year of Birth and Age:                    1971/48 years old

Violations:                               Count 1: Interference with commerce by threats or
                                          violence and aiding and abetting the same, in violation
                                          of Title 18, United States Code, Sections 1951 and 2.

Penalties:                                Count 1: Imprisonment of not more than twenty years
                                          (18 U.S.C. § 1951(a)), a fine not to exceed $250,000 (18
                                          U.S.C. § 3571(b)(3)), or both.

                                          This is a Class C felony pursuant to 18 U.S.C. §
                                          3559(a)(3).

Supervised Release:                       Count 1: Not more than three years. 18 U.S.C. §
                                          3583(b)(2).

Maximum Term of Imprisonment for          Count 1: Not more than two years. 18 U.S.C. §
Violation of Supervised Release:          3583(e)(3).

Maximum Add’l Term of Supervised          Count 1: Three years less any period of imprisonment
Release for Violation of Supervised       imposed upon revocation of supervised release. 18
Release:                                  U.S.C. § 3583(h).

Defendant’s Attorney:                     TBD

Primary Investigative Agency and Case     FBI; SA Tyler Delorme
Agent Name:

Detention Status:                         TBD

Foreign National:                         No

Foreign Consular Notification Provided: N/A

County:                                   Out of district warrant; defendant arrested in York
                                          County
AUSA:                                     David B. Joyce
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Guidelines apply? Y/N                 Yes

Victim Case:                          Yes

Corporate Victims Owed Restitution:   N/A

Assessments:                          $100 per count
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               United States District Court
     ——————— District of Maine ———————


UNITED STATES OF AMERICA
                                                  ORDER OF TEMPORARY DETENTION
v.                                                 PENDING HEARING PURSUANT TO
                                                       BAIL REFORM ACT
WILLIAM ANGELESCO,

                     Defendant

                                                  No. 2:19-mj-00335-JHR


       It is ORDERED that a detention hearing in this matter is continued to Wednesday, November

27, 2019, at 10 a.m. before John H. Rich III, United States Magistrate Judge, 156 Federal Street,

Portland, Maine. Pending this hearing, the defendant shall be held in custody by the United States

Marshal and produced for the hearing.



       Dated: November 25, 2019.

                                                     /s/ John H. Rich III
                                                     John H. Rich III
                                                     United States Magistrate Judge
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                                             UNITED STATES DISTRICT COURT
                                                   DISTRICT OF MAINE
      CASE NAME: USA v. William Angelesco

      DOCKET NO: 2:19-mj-335-JHR

      PROCEEDING TYPE: Detention Hearing

                                                       Exhibit List
Gvt   Dft     Court
                                                                                           Date         Date             Date
Exh   Exh      Exh                               Description                                                      Obj
                                                                                         Mentioned     Offered          Admitted
No.   No.      No.
 1                                              Sealed Exhibit                            11/27/19     11/27/19         11/27/19
                                                                                                                             Case 1:19-cr-10444-NMG Document 9 Filed 12/04/19 Page 17 of 19
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                          UNITED STATES DISTRICT COURT
                                       District of Maine

                                         Witness List
Case Name: USA v. William Angelesco                                         Proceeding Type:
Case No.: 2:19-mj-335-JHR                                                   Detention Hearing

Presiding Judge: John H. Rich III          Government's Attorney:           Defendant’s Attorney:
Courtroom Deputy: Nicholas Gordon          Daniel J. Perry, AUSA            David R. Beneman, Esq.
Court Reporter: Dennis Ford
  Gvt          Dft          Date                              WITNESS
                X         11/27/19                           Denise Miele
Case 2:19-mj-00335-JHR   Document
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